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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

           - v. -                                     S2 17 Cr. 548 (JMF)

JOSHUA ADAM SCHULTE,                                  VERDICT FORM

                             Defendant.



                             All Answers Must Be Unanimous

Count One:
   Receipt of Child Pornography

   Guilty ______               Not Guilty ______

Count Two:
   Possession of Child Pornography

   Guilty ______               Not Guilty ______

   If you find the defendant guilty of Count Two:

   Do you find that any image or video of child pornography involved in Count Two involved a
   minor who had not yet reached the age of puberty or was less than 12 years old?

   Yes ______                  No ______

Count Three:
   Transportation of Child Pornography

   Guilty ______               Not Guilty ______
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 After completing the Verdict Form, please sign your names in the spaces provided below, fill
 in the date and time, and inform the Court Security Officer that you have reached a verdict.



___________________________________            ___________________________________
Foreperson

___________________________________            ___________________________________


___________________________________            ___________________________________


___________________________________            ___________________________________


___________________________________            ___________________________________


___________________________________            ___________________________________


Date and Time:   ____________________

Once you have signed the Verdict form, please give a note—NOT the Verdict Form itself—to
            the Court Security Officer stating that you have reached a verdict.




                                              2
